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                               EXHIBIT 70




                                                                  Appx. 01843
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                                                                                                                          FILED
                                                                                                                5/2/2022 9:27 PM
                                                                                                              FELICIA PITRE
                                                                                                            DISTRICT CLERK
                                                                                                        DALLAS CO., TEXAS
                                                                                                       Martin Reyes DEPUTY



                                        CAUSE NO. DC-21-09534


     IN RE JAMES DONDERO,                                  §   IN THE DISTRICT COURT
                                                           §
           Petitioner.                                     §   95th   JUDICIAL DISTRICT
                                                           §
                                                           §   DALLAS COUNTY, TEXAS
          VERIFIED AMENDED PETITION TO TAKE DEPOSITION BEFORE SUIT
                            AND SEEK DOCUMENTS

           Petitioner James Dondero respectfully requests that this Court order, pursuant to Texas

    Rule of Civil Procedure 202, the deposition of the corporate representatives and/or employees of

    Alvarez & Marsal CRF Management, LLC, and of Farallon Capital Management, LLC. Petitioner

    further requests that the Court order certain limited, yet relevant, documents to be provided under

    Texas Rule of Civil Procedure 199.2 as set forth in below.

           Petitioner would respectfully show the Court that:

                                                      I.

                                                 PARTIES
            l.     Petitioner James Dondero (“Petitioner”) is an individual resident in Dallas County,

    Texas, and is impacted by the potential acts and omissions.

           2.      Respondent Alvarez     & Marsal CRF Management, LLC (“A&_M”) is              a Delaware

    limited liability company serving as an investment adviser, with ofﬁces in Dallas County, Texas,

    at 2100 Ross Ave., 21“ Floor, Dallas, Texas 75201.

           3.      Respondent Farallon Capital Management,            L.L.C. (“FaLllon”) is   an investment

    fund located at One Maritime Plaza, Suite 2100, San Francisco,            CA   94111, and Respondent

    Michael Lin is a principal at Farallon.




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                                                      II.

                                      JURISDICTION AND VENUE

             4.      The Court has subject matter jurisdiction over this matter pursuant to Texas Rule

    of Civil Procedure 202. The anticipated lawsuit would include common law claims.

              5.     The Court has personal jurisdiction over Respondent Alvarez & Marsal because it

    maintains a regular place of business in Dallas County. Personal jurisdiction is also proper under

    Tex. Cir. Prac. Rem. Code      § 17.003, and under      §l7.042(1)-(3) because A&M contracted with

    counterparties, Joshua Terry and Acis Capital Management, L.P., both of whom at the time had

    their principal place of business in Dallas County, Texas, and because its acts on behalf of the

    Crusader Funds (as deﬁned below),      if they occurred as believed they did, will have been tortious
    as to Petitioner. Moreover, this Court has quasi in rem jurisdiction because the action concerns the

    sale   of personal property located in Dallas County in which Plaintiff claims an interest.

              6.     The Court has personal jurisdiction over Farallon because it contracted with A&M

    to purchase claims in the Highland Capital Management,        L.P. Chapter   11   bankruptcy (“Highland

    bankruptcy”) upon the recommendation of James Seery, Highland’s CEO. Such acts,             if shown to
    have occurred as believed and under the alleged circumstances, will have been tortious as to the

    Petitioner. Moreover, this Court has quasi in rem jurisdiction because the action concerns the sale

    of personal property located in Dallas County in which Plaintiff claims an interest.

              7.     Venue is proper in Dallas County, Texas, where venue of the anticipated lawsuit

    may lie and where the property at issue exists, and where a substantial amount of the acts and

    omissions underlying the potential suit occurred.




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           8.      Removal is not proper because there is no basis for federal jurisdiction because a

    Rule 202 petition does not meet Article III of the United States Constitution’s standing

    requirement.

                                                     III.

                                      FACTUAL BACKGROUND
           9.      This matter arises out of purchase of certain bankruptcy claims in the Highland

    Bankruptcy.

            10.    Petitioner is the founder and former CEO of Highland Capital Management, L.P.,

    currently a bankrupt debtor. He is also an investor in Highland Crusader Fund, Ltd. and several of

    its companion and afﬁliated funds (the “Crusader Funds”). Therefore, Petitioner has an interest in

    seeing to it that A&M properly marketed the claims for proper purposes and for the right price.

            11.    Until recently, the Crusader Funds were managed by Highland, and then by A&M

    when those ﬁmds went into liquidation.

            12.    Petitioner has an interest in the bankruptcy estate by virtue of his afﬁliation, and

    the fact that he is an adviser and/or manager of several trusts who own the equity of the debtor and

    therefore has an interest in seeing the equity properly protected in bankruptcy.

            l3.    Shortly after the Highland bankruptcy was ﬁled, the Chapter     ll   Trustee issued an

    invitation to creditors to serve on the unsecured creditors committee (the

            14.    The Trustee’s invitation included a condition: namely, that anyone who served on

    the committee would have to agree that they would not sell their claims or in any way alienate

    them (including allowing them to be used as security) without leave of Court. Speciﬁcally, the

    United Trustee’s instruction sheet stated:

                   Creditors wishing to serve as ﬁduciaries on any ofﬁcial committee are
                   advised that may not purchase, sell or otherwise trade in or transfer



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                        claims against the Debtor While they are committee members absent an
                        order of the Court. By submitting the enclosed questionnaire and
                        accepting membership on ofﬁcial committee of creditors, you agree to
                        this prohibition. The United States Trustee reserves the right to take
                        appropriate action, including removing the creditor from the committee,
                        if the information provided in the Questionnaire is inaccurate, if the
                        foregoing prohibition is violation, or for any other reason the United
                        States Trustee believes is proper in the exercise of her discretion.

            15.         Upon information and belief, two of the Highland creditors           —   the Redeemer

    Committee and the Crusader Fund, who between them owned approximately $191 million in

    claims in the bankruptcy as well as other assets (the “Crusader Claims”)         —   sold their Claims and

                 J
    assets to essup Holdings         LLC, a subsidiary of Stonehill Capital Management, LLC. Alvarez and
    Marsal made this sale, which was in violation of the foregoing order.

            16.         Alvarez and Marsal arguably owe ﬁduciary duties to the funds and ﬁmds investors,

    and may have violated those duties by failing to conduct a sale for proper value, and/or by engaging

    in other acts that resulted in a sale of assets that was not authorized and/or not allowed by the terms

    of the ﬁmds or by law.

            l7.         Around the same time, another Highland creditor—Joshua Terry and Acis Capital

    Management, who have approximately $25 million in claims—also sold their claims to Muck

    Holdings,        LLC,   set up by Farallon Capital Management (the   “Acis Claims”).

            18.         And a third creditor, HarbourVest, sold its $80 million worth of claims (the

    “HarbourVest Claims”) to Muck Holding as well.

            l9.         The above interests are generally referred to hereinafter as the “Claims”.

            20.         The sales of the Claims were not reported contemporaneously as they were

    supposed to have been, nor was leave        of the bankruptcy court ever sought, much less obtained, for

    the sales.




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           21.     However, Acis/Terry, and Crusader continued to serve on the UCC for a substantial

    period of time as   if they hadn’t sold their claims at all.
           22.     As was discovered by the Petitioner, the current CEO of Highland, James Seery,

    has an age-old connection to Farallon and to Stonehill and, upon information and belief, advised

    Farallon and Stonehill to purchase the Claims.

           23.     On a telephone call between Petitioner and Michael Lin, a representative of

    Farallon, Mr. Lin informed Petitioner that Farallon had purchased the claims sight unseen and with

    no due diligence—100% relying on Mr. Seery’s say-so because they had made so much money in

    the past when Mr. Seery told them to purchase claims.

           24.     In other words, Mr. Seery had inside information on the price and value of the

    claims that he shared with no one but Farallon for their beneﬁt.

           25.     Mr. Seery’s management duties come with a federally-imposed ﬁduciary duty

    under the Advisers    Act of 1940.

           26.     Mr. Seery had much to gain by Farallon holding the claims—namely, his

    knowledge that Farallon—as a friendly investor—would allow him to remain as CEO while

    Highland remains bankrupt and get paid (whereas plainly, the selling members of the UCC were

    ready to move on, thus truncating Seery’s supposed gravy train). Mr. Seery’s rich compensation

    package incentivized him to continue the bankruptcy for as long as possible.

           27.     However, Mr. Seery is privy to material non-public information (i.e.,

    Information”) of many of the securities that Highland deals in, as well as in the funds that Mr.

    Seery manages through Highland. One of the assets was a publicly traded security that Highland

    was an insider of, and therefore, should not have traded (whether directly or indirectly), given its

    possession of insider information.




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           28.     Thus, his conﬁdential tip to Farallon to purchase the claims may have violated

    certain of his duties as a Registered Investment Adviser, federal Securities laws, and his duties to

    the bankruptcy estate.

           29.     Mr. Seery’s duties also involve duties to manage the bankruptcy estate in a manner

    that would expeditiously resolve the bankruptcy.      If the Unsecured Creditor Committee members

    (Acis, HarbourVest, and Redeemer) were indeed interested in selling their claims for less than the

    notional amount, then that would have been publicized in the required court ﬁling. By failing to

    ﬁle them publicly and seeking court approval, the bankruptcy has been prolonged whilst Farallon

    seeks to reap a massive windfall return on its investment—a return that Seery apparently promised.

           30.     The sale of assets authorized by A&M was not pursuant to normal means, and there

    is reason to doubt that A&M sought or obtained the highest price for the assets that it sold.

                                                      IV.

                        RELIEF SOUGHT FROM ALVAREZ AND MARSAL
           31.     Petitioner asks this Court to issue an Order authorizing Petitioner to take a pre-suit

    deposition of a designated representative, or representatives, of A&M, on the following topics, and

    to investigate any potential lawsuits arising out   of the highly irregular manner in which the assets

    were marketed and sold, within ten days of the Court’s Order, or as agreed by the parties:

                   a.        A&M’s rights and responsibilities and duties, including, but not limited to,
                             under A&M’s agreement(s) with the Crusader Funds and the Agreement(s)
                             of those funds governing Petitioner’s rights and duties      as an investor
                             (whether directly or indirectly);

                   b.        The solicitation, offer, valuation, marketing, negotiation, and sale of the
                             Highland bankruptcy claims or other assets by A&M on behalf of the
                             Crusader Funds (and/or the Redeemer Committee) to any or all of Farallon,
                             Stonehill Capital Management, LLC, Muck Holdings, LLC, Jessup
                             Holdings, LLC, or any third party;




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                                                                                              Appx. 01849
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                           A&M’s valuation,    and negotiation of the price, of the Claims, its bases
                           therefor, and What it communicated to potential purchasers about the value
                           of the Claims, if anything;

                           The negotiations and communications leading up to the purchase or sale      of
                           the Claims, including, but not limited to:

                           i.      Any discussions with James Seery or anyone at or on behalf of
                                   Highland Capital Management, L.P., the Creditors Committee,
                                   Sidley Austin, LLP, and/or F.T.l. Consulting, regarding the Claims,
                                   any plans With regards to Highland Capital Management, L.P., the
                                   liquidation or the value of the Claims, the likelihood of and quantum
                                   of payout of the Claims, the pricing of the Claims, and/or the assets
                                   that would secure the Claims or be liquidated to fund the Claims’
                                   liquidation;

                           ii.     Any discussions with the purchasers of the Claims or other assets to,
                                   including, but not limited to, Farallon, Stonehill Capital
                                   Management, LLC, Jessup Holdings LLC or Muck Holdings, LLC,
                                   regarding the Claims or other assets, Highland Capital Management,
                                   L.P., the value of the Claims, the likely payout of the Claims, the
                                   pricing of the Claims, and/or the assets that would secure the Claims
                                   or be liquidated to fund the Claims’ liquidation.

           32.     As part of the Court’s Order, Petitioner requests this Court     to require   A&M   to


    produce the following documents at their respective depositions:

                   a.      All offers to sell or purchase the Claims and/or all correspondence regarding
                           same;

                           A&M’s    agreement(s) with the Crusader Funds and the Agreement(s) of
                           those funds governing Petitioner’s rights and duties as an investor (Whether
                           directly or indirectly);

                           Any document reﬂecting the purported assets of, or valuation of, Highland
                           Capital Management, L.P. at the time of the sale or marketing of the Claims;

                           Marketing materials, presentations, decks, information sheets, spreadsheets,
                           or other documents sent to or provided to any purchaser, whether in a data
                           room or as part of any marketing pitch, or during any due diligence process,
                           relating to or concerning the liquidation value, potential or likely return on
                           investment, asset valuation, purchase, marketing or sale of the Claims;

                           All documents, agreements, contracts (including any drafts, letters of intent,
                           conﬁdentiality agreements, term sheets) or communications related to same,


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                           relating to or concerning the valuation, purchase, marketing or sale of the
                           Claims (or any subset of the Claims);

                           Communications with James Seery or any other person on behalf of the
                           Debtor, the U.S. Trustee’s ofﬁce, the Unsecured Creditors Committee,
                           Joshua Terry, Acis Capital Management, LLC, Farallon, Stonehill Capital
                           Management, LLC, Jessup Holdings LLC, or Muck Holdings, LLC (or
                           anyone representing or signing on behalf of the foregoing) regarding the
                           sale of the Claims or other assets, the value thereof, the expected amount or
                           percentage of the Claims that would be paid and when such payment was
                           expected to occur, the liquidation value of Highland Capital Management,
                           L.P., potential sources of other cash to pay the claims, the liquidation of the
                           Claims, the likely return from purchasing the Claims, the underlying assets
                           securing the Claims.

                           Proofs of purchase of the Claims and other assets of the Crusader entities.

                                                      V.

           RELIEF SOUGHT FROM FARALLON CAPITAL MANAGEMENT, L.L.C..
                     MUCK HOLDINGSLLLC AND MICHAEL LIN
           33.     Petitioner asks this Court to issue an Order authorizing Petitioner to take a pre-suit

    deposition of a designated representative, or representatives, of Farallon Capital Management,

    L.L.C. or Muck Holdings, LLC, and to depose Michael Lin, on the following topics, to investigate

    any potential lawsuits arising out of the highly irregular manner in which the assets were marketed

    and sold, within ten days   of the Court’s Order, or as agreed by the parties:

                   a.      Farallon, Muck Holdings, LLC, and/or Lin’s understanding of the value of
                           the Claims, the assets held or controlled by or to be acquired by Highland
                           Capital Management, L.P.., the liquidation value of the Estate of Highland
                           Capital Management, L.P., and/or Claims, how and when the claims were
                           expected to be paid and what the expected percentage payoff was going to
                           be, and the bases for such understanding or belief, and what was
                           communicated to them about the value of the Claims;

                           The negotiations and communications leading up to the purchase or sale of
                           the Claims, including, but not limited to, any discussions with sellers of any
                           of the Claims regarding the Claims and the sale/purchase of the Claims,
                           discussions with James Seery or anyone at or on behalf of Highland Capital
                           Management, L.P. regarding the Claims and his plans with regards to
                           Highland, the value of the Claims, the likely payout of the Claims, the



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                                                                                              Appx. 01851
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                           pricing of the Claims, and/or the assets that would secure the Claims or be
                           liquidated to ﬁmd the Claims’ liquidation, or any disclosures by James
                           Seery or Highland Capital Management, L.P. regarding how the Claims
                           were going to be paid;

                           Farallon and Michael Lin’s awareness of material non-public information
                           regarding Highland Capital Management, L.P. or securities held by
                           Highland Capital Management, L.P.;

                           Farallon and Michael Lin’s relationship with James Seery or Highland
                           Capital Management, L.P. and their knowledge of his role and their ongoing
                           relationship with him.

           34.     As part of   the Court’s Order, Petitioner requests this Court to require Farallon


    Capital Management, L.L.C., Muck Holdings        LLC,   and Michael    Lin   to produce the following

    documents at their respective depositions:

                   a.      All offers to sell or purchase the Claims and/or all correspondence regarding
                           same;

                           Any document reﬂecting the purported assets of, or valuation of, Highland
                           Capital Management, L.P. at the time of the sale or marketing of the Claims;

                           Marketing materials, presentations, decks, information sheets, spreadsheets,
                           or other documents sent to or provided to any purchaser, whether in a data
                           room or as part of any marketing pitch, or during any due diligence process,
                           relating to or concerning the liquidation value, potential or likely return on
                           investment, asset valuation, purchase, marketing or sale of the Claims.

                           All agreements,   contracts, or other documents (including any drafts, letters
                           of intent, conﬁdentiality agreements, term sheets, or communications
                           related to same) relating to or concerning the valuation, purchase, marketing
                           or sale of the Claims (or any subset of the Claims);

                           All communications with James Seery or any other person on behalf of the
                           Debtor, the U.S. Trustee’s ofﬁce, the Unsecured Creditors Committee,
                           Joshua Terry, Acis Capital Management, LLC, Farallon, Stonehill Capital
                           Management, LLC, Jessup Holdings, LLC or Muck Holdings, LLC (or
                           anyone representing or signing on behalf of the foregoing) regarding the
                           sale of the Claims or other assets, the value thereof, the expected amount or
                           percentage of the Claims that would be paid and when such payment was
                           expected to occur, the liquidation value of Highland Capital Management,
                           L.P., potential sources of other cash to pay the Claims, the liquidation of the



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                            Claims, the likely return from purchasing the Claims, the underlying assets
                            securing the Claims.

                    f.      Proofs of purchase of the Claims and other assets of the Crusader entities.

                                                      VI.

                                REQUEST FOR HEARING & ORDERS
            35.     After service of this Amended Petition and notice, Rule 202.3(a) requires the Court

    to hold a hearing on the Petition and order the requested relief.

            36.     Document discovery is permitted by Rule 199.2. Rule 202.5 states that “depositions

    authorized by this Rule are governed by the rules applicable to depositions of nonparties in a

    pending suit. The scope of discovery in depositions authorized by this rule is the same as         if the

    anticipated suit or potential claim had been ﬁled. . . .” Rule 199.2 governs such actions and

    “expressly allows a party noticing a deposition to include a request for production of documents

    or tangible things Within the scope   of discovery and within the witness's possession, custody, or

    control.” In re City of Tatum, 567 S.W.3d 800, 808 (Tex. App—Tyler 2018) (holding that district

    court properly ordered document discovery in Rule 202 action). See also Tex. R. CiV. P. 205.1(0)

     (authorizing party to compel discovery from a nonparty by court order or subpoena, including a

    request for production served with a deposition notice). See also City ofDall. v. City of Corsicana,

    Nos. 10-14-00090-CV, 10-14-00171-CV, 2015 Tex. App.            LEXIS    8753, at *15-16 (Tex. App.—

    Waco Aug. 20, 2015) (“Under rule 202, documents can be requested in connection with a

    deposition. . .. Accordingly, the trial court’s order is not an abuse of discretion to the extent that it

    allows Navarro to obtain documents in an oral deposition under rule 199 or a deposition on written

    questions under rule 200.”); In re Anand, No. 01-12-01106-CV, 2013 Tex. App.           LEXIS 4157, at

     *9 (Tex. App—Houston      [lst Dist.] Apr. 2, 2013) (“the language of these rules when read together




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    permits a petition seeking a pre-suit deposition under Rule 202 to also request the production of

    documents”).

           37.     FOR THESE REASONS,            Petitioner asks the Court to set a date for hearing on

    this Amended Petition, and after the hearing, to ﬁnd that the likely beneﬁt of allowing Petitioner

    to take the requested depositions outweighs the burden or expense       of the procedure. Petitioner

    further asks the Court to issue an Order authorizing Petitioner to take the oral depositions of the

    Respondents after proper notice and service at the ofﬁces of Sbaiti    & Company PLLC, 2200 Ross

    Avenue, Suite 4900W, Dallas, Texas 75201, within ten (10) days of the Court’s Order, or as

    otherwise agreed to by the parties, and to produce the requested documents prior to said deposition.

    Petitioner also seeks any further relief to which he may be justly entitled.

    Dated: May 2, 2022                                    Respectfully submitted,

                                                          SBAITI & COMPANY PLLC

                                                          /s/ Mazz'n A. Sbaiti
                                                          Mazin A. Sbaiti
                                                          Texas Bar No. 24058096
                                                          Brad J. Robinson
                                                          Texas Bar No. 24058076
                                                          2200 Ross Avenue — Suite 4900W
                                                          Dallas, TX 75201
                                                          T: (214) 432-2899
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                                                          E: mas@sbaitilaw.com
                                                              bjr@sbaitilaw.com

                                                          Counsel for Petitioner

                                     CERTIFICATE OF SERVICE

           I hereby certify that a true and correct copy of the foregoing document was served on all
    counsel of record in accordance with the Texas Rules of Civil Procedure on this 2nd day of May,
    2022.
                                                                 /s/Mazz'n A. Sbaiti
                                                                 Mazin A. Sbaiti


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                                                                                             Appx. 01854
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                                                    VERIFICATION

    STATE OF TEXAS             §
                               §
    DALLAS COUNTY              §

    Before me, the undersigned Notary Public, on this day personally appeared James Dondero
    (hereinafter “Afﬁant”), who is over the age of 21 and of sound mind and body, who being by me
    duly sworn, on his oath deposed and said that he has read the foregoing Amended Veriﬁed
    Petition to Take Deposition Before Suit, and that the statements of fact therein are within his
    personal knowledge .
                          -
                              e true and correct as stated, Further, Afﬁant stated that the Afﬁant has
                                     =




                   led: beca .lc of Afﬁant’s relationships and interactions as described therein.
                          -


    personal


                    '



    Jameséondero


    SUBSCRIBED AND SWORN TO BEFORE ME on                         misﬁt of April, 2022, to certify which
    witness my hand and official seal.



    My commission expires on                   \\‘~ -°\   -   W§S§    .




    Notary Public of the      ﬁEE                     .   ‘\_

    seal


                          Robin Mormon
                        My Commlulon Expires
                              12/9/2025
                              Non         ID
                              133“       300




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 Kim James on behalf of Mazin Sbaiti
 Bar No. 24058096
 krj@sbaitilaw.com
 Envelope ID: 64114982
 Status as of 5/3/2022 2:58 PM           CST
 Case Contacts

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  Jonathan Bridges               jeb@sbaitilaw.com         5/2/2022 9:27:04 PM   SENT
  Brad Robinson                  bjr@sbaitilaw.com         5/2/2022 9:27:04 PM   SENT
  Charlotte Casso                bcc@sbaitilaw.com         5/2/2022 9:27:04 PM   SENT




                                                                                        Appx. 01856
